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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    AMYRIS, INC., et al.,1                                   Case No. 23-11131 (TMH)

                              Debtors.                       (Jointly Administered)

                                                             Re: Docket No. 1363

      CERTIFICATE OF NO OBJECTION REGARDING SIXTH MONTHLY
FEE APPLICATION OF FTI CONSULTING, INC. FOR INTERIM COMPENSATION
      AND REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISORS
        TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
  FOR THE PERIOD FROM FEBRUARY 1, 2024 THROUGH FEBRUARY 29, 2024

             The undersigned hereby certifies that they have received no answer, objection, or any other

responsive pleading with respect to the Sixth Monthly Fee Application of FTI Consulting, Inc. for

Interim Compensation and Reimbursement of Expenses as Financial Advisors to the Official

Committee of Unsecured Creditors for the Period February 1, 2024 Through February 29, 2024

[Docket No. 1363] (the “Application”). The undersigned further certifies that they have reviewed

the Court’s docket in these cases and no formal answer, objection, or other response to the

Application appears thereon.2 The Application was filed with the Court on the date listed on

Exhibit A.

             Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Docket No. 279] (the “Interim Compensation




1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      Pursuant to the Interim Compensation Order, parties have fourteen (14) days after the date of service to object to
      the Application.


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Order”), the Debtors are authorized and directed to pay FTI Consulting, Inc. (the “Applicant”)

eighty percent (80%) of the fees and one hundred percent (100%) of the expenses requested in the

Application upon the filing of this Certificate of No Objection without the need for entry of a Court

order approving the Application.




                                    [Signature Page Follows]




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Dated: April 3, 2024                Respectfully submitted,
       Wilmington, Delaware
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                                       EXHIBIT A


                                   Amyris, Inc., et al.
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                             Professional Fees and Expenses
                                Monthly Fee Application



                                     FEES & EXPENSES   FEES & EXPENSES      DATE
   APPLICANT &         TIME PERIOD                                                     OBJECTION
                                      REQUESTED IN        ALLOWED/       APPLICATION
   DOCKET NO.           COVERED                                                        DEADLINE
                                       APPLICATION        AWARDED           FILED
                                                         $30,377.60
                                       $37,972.00
FTI Consulting, Inc.                                    (Fees at 80%)
                        02/01/2024       (Fees)
                             -                                           03/19/2024    04/02/2024
[Docket No. 1363]                                          $0.00
                        02/29/2024       $0.00
                                                        (Expenses at
                                       (Expenses)
                                                           100%)




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